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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

JAVONNA S. BARNES,                             :   CASE NO. 8:18-cv-01473
                                               :
             Plaintiff,                        :   JUDGE PETER J. MESSITTE
                                               :
v.                                             :   DEFENDANT NCC BUSINESS
                                               :   SERVICES, INC.’S RESPONSE TO
NCC BUSINESS SERVICES, INC., et al.,           :   PLAINTIFF’S MOTION FOR A
                                               :   SECOND ORDER TO COMPEL AND
             Defendants.                       :   FOR SANCTIONS


       On March 12, 2019, Plaintiff Javonna Barnes (“Plaintiff”) filed a Motion for a Second

Order to Compel and for Sanctions, and a corresponding Memorandum in Support. See Docs.

66, 66-1. Defendant NCC Business Services, Inc. (“NCC”) respectfully submits this Response

to Plaintiff’s Motion and Memorandum in Support.

       In her Memorandum in Support, Plaintiff requests, inter alia, the following relief:

              b. Order that the jury shall be instructed to draw the following negative
                 inferences because of Sun Ridge discovery violations:

                   i. Sun Ridge communicated false and damaging information to NCC,
                       with knowledge that the information was false, and with
                       knowledge that NCC intended to in turn report that false and
                       damaging information to others.

See Doc. 66-1, Page 9.

       The discovery dispute at issue is between Plaintiff and Defendant Sun Ridge Associates,

LP d/b/a Autumn Woods. However, NCC believes that the relief requested by Plaintiff would

imply to jurors that NCC had knowledge of allegedly “false and damaging information” and/or

knowingly reported allegedly false and damaging information. If Plaintiff is granted the relief

she requests, NCC believes that clarifying and/or limiting instructions would need to be provided
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so that jurors are not instructed to draw inferences as to NCC’s alleged knowledge and/or the

effect on Plaintiff of any action(s) or omission(s) of NCC.

                                             Respectfully submitted,

                                             /s/David B. Shaver
                                             Jeffrey C. Turner, admitted PHV (OH #0063154)
                                             David B. Shaver, admitted PHV (OH #0085101)
                                             Surdyk, Dowd & Turner Co., L.P.A.
                                             8163 Old Yankee Street, Suite C
                                             Dayton, Ohio 45458
                                             (937) 222-2333 | (937) 222-1970 (fax)
                                             jturner@sdtlawyers.com
                                             dshaver@sdtlawyers.com

                                             James M. Connolly (Bar No. 23872)
                                             Kramer & Connolly
                                             465 Main Street
                                             Reisterstown, MD 21136
                                             Tel.: (410) 581-0070
                                             Fax: (410) 581-1524
                                             jmc@kramerslaw.com
                                             Counsel for NCC Business Services, Inc.




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was filed and served this

19th day of March, 2019, via the Court Clerk’s CM/ECF system which will provide notice to all

counsel of record.


                                             /s/David B. Shaver
                                             David B. Shaver, admitted PHV (OH #0085101)




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